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14

15                                 UNITED STATES DISTRICT COURT

16                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

17 STACIA STINER; RALPH CARLSON, in his                    Case No. 4:17-cv-03962-HSG (LB)
   capacity as Trustee of the Beverly E. Carlson and
18 Helen V. Carlson Joint Trust; LORESIA                   DECLARATION OF DOUGLAS J.
   VALLETTE, in her capacity as representative of          CROSS SUPPORT OF
19 the Lawrence Quinlan Trust; MICHELE LYTLE,              PLAINTIFFS’ MOTION FOR
   in her capacity as Trustee of the Boris Family          CLASS CERTIFICATION
20 Revocable Trust; RALPH SCHMIDT, by and
   through his Guardian Ad Litem, HEATHER                  Date:    May 26, 2022
21 FISHER; PATRICIA LINDSTROM, as                          Time:    2:00 p.m.
   successor-in-interest to the Estate of ARTHUR           Place:   Courtroom 2
22 LINDSTROM; BERNIE JESTRABEK-HART;                       Judge:   Hon. Haywood S. Gilliam, Jr.
   and JEANETTE ALGARME; on their own
23 behalves and on behalf of others similarly
   situated,
24                Plaintiffs,
25         v.

26 BROOKDALE        SENIOR LIVING, INC.;
   BROOKDALE SENIOR LIVING
27 COMMUNITIES,        INC.; and DOES 1 through
   100,
28                   Defendants.

     [3776952.2]
                                               REDACTED
                                                                    Case No. 4:17-cv-03962-HSG (LB)
           DECL. OF DOUGLAS CROSS IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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Experience:

Douglas J. Cross Transportation Consulting                                                 Oakland, California
2004 to Present: Principal
   Independent consultant specializing in transit accessibility and paratransit. Projects have included:
       Assistance regarding bus system wheelchair securement policy, procedures, training, and marking/tether
       strap programs and/or ADA and passenger assistance for: Sacramento Regional Transit, Santa Clara
       Valley Transportation Authority (San Jose), Gold Coast Transit (Oxnard, Calif.), Los Angeles County
       MTA, Access Services (L.A. County ADA paratransit agency), San Joaquin RTD (Stockton, Calif.),
       SamTrans (San Carlos, Calif.), California Transit Insurance Pool (CalTIP), Whistlestop (Marin Co., Calif.),
       Outreach & Escort (San Jose ADA paratransit), City of Pleasant Hill, Calif., Maui Bus (Hawai’i),
       SilverRide, and Keolis Transit America, as well as non-emergency medical transp. (NEMT) firms
       Research and co-authoring of a national study on wheelchair access in transportation sponsored by
       Easter Seals Project ACTION: “Status Report on the Use of Wheelchairs in Transportation”
       Evaluation and recommendations for ADA paratransit eligibility certification process of San Joaquin
       Regional Transit District (SJRTD), Stockton, California
       Expert witness evaluation/testimony in litigation involving wheelchair securement and lift/ramp access,
       passenger assistance, and paratransit service performance
       Operational and ADA compliance evaluations of ADA paratransit programs at Baltimore, Maryland
       (operated by Maryland MTA), Capital Metro (Austin, Texas), and Summit Stage (Breckenridge, Colorado)
       Operational and ADA compliance evaluation of fixed route transit service of the Corpus Christi Regional
       Transportation Authority (Texas)
       Operational and needs assessments for Cities of Emeryville and San Pablo, California senior/paratransit
       programs
       On-board service monitoring for transit systems in Sacramento, San Jose, Antioch, & Orange Co., Calif.
       ADA configuration audit of 2 new transit coaches by New Flyer of America, Inc., for New York City Transit
   Certified Trainer, Passenger Service and Safety (PASS), Community Transportation Association of America
   (CTAA); a program for training drivers in proper assistance techniques for serving persons with disabilities;
   Passenger Assistance: Certification for Trainers, University of Wisconsin-Milwaukee; and Advanced
   Mobility Device Securement, National Transit Institute (NTI - Rutgers University)

Alameda-Contra Costa Transit District                                                       Oakland, California
1996; 1998 - 2003: Accessible Services Manager
1997: Acting Transportation Superintendent
   Coordinated implementation and management of a new, brokered ADA paratransit service (East Bay
   Paratransit Consortium), which began in 1996 as a joint venture between AC Transit and BART; annual
   budget of $25 million. Managed study of alternative service delivery structure improvements; developed
   operating and rider policies; coordinated RFP process for continued broker/service provider contracts; and
   managed procurement and implementation of new scheduling software/hardware.
   Directed establishment of a new operating division to provide a portion of the East Bay’s ADA paratransit
   service under contract to a broker, including fleet of 35 vehicles, 50 drivers, and 6 dispatchers; budget of $3
   million. Provided start-up procedures and training/supervision of all staff.
   Planned and coordinated all aspects of senior and disabled accessibility to the East Bay area’s 800-bus fixed
   route transit service, including policies, procedures, equipment, and programs. Provided staff support to
   consumer-based Accessibility Advisory Committee.



                                                   January 2019
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   Developed and implemented a wheelchair marking/tether strap program for customers. Coordinated AC
   Transit participation in demonstrations of prototype wheelchair securement systems, as well as
   implementation of the first rear-facing padded barrier wheelchair stations in US transit buses.
Sacramento Regional Transit District                                                     Sacramento, California
1992 - 1996: Accessible Services Administrator
   Planned and coordinated all functions related to accessibility of bus (200 vehicles), light rail (40 vehicles, 28
   stations), and paratransit services (70 vehicles)
   Performed contract management and oversight of private, non-profit provider of ADA paratransit
Door To Door Transportation Services, Inc.                                                        Cincinnati, Ohio
1991: General Manager
   Chief operating officer for firm providing paratransit service to the SW Ohio Regional Transit Authority’s
   county-wide ACCESS program, as well as airport limousine, charter, and Medicaid service.
LAKETRAN (Lake County Regional Transit Authority)                                              Grand River, Ohio
1990: Operations Manager
   Chief operating officer for countywide fixed route and paratransit system serving suburban population of
   225,000. Directed growth of revenue fleet from 40 to 60 vehicles and increase of driver complement from 30
   to 80, as well as relocation of operating facility.
Northeast Ohio Areawide Coordinating Agency                                                       Cleveland, Ohio
1984 - 1990: Senior Transportation Planner
   Planned and administered 5-county paratransit coordination project. Established non-profit umbrella vehicle
   leasing corporation, and developed lease agreements and service brokerage contracts.
   Planned and implemented routes, operating procedures, service RFP and contracts, and maintenance
   program for new community bus service for the City of Brunswick, Ohio.
   Authored Lake County Paratransit Study. Developed vehicle specifications and bid packages; prepared
   federal and state operating and capital assistance grant applications.
Previous Positions:
   Indiana Department of Transportation, Indianapolis, Indiana; 1981 - 1984: Project Manager
   City Of Norwood/Norwood Transit System, Norwood, Ohio; 1980 - 1981: Transit Consultant
   SW Ohio Regional Transit Authority/Queen City Metro, Cincinnati, Ohio; 1979 - 1980: Transit Analyst
Education:
   Bachelor of Urban Planning, University of Cincinnati, School of Planning, 1981
   Additional courses in transit, paratransit, and general management; wheelchair securement and passenger
   assistance techniques; ADA paratransit eligibility; microcomputers; and procurement
Professional Affiliations:
   Member, Access Committee of the American Public Transportation Association (APTA), including Universal
   Accessibility Standards Program/Technical Resources Group, Stop Announcement Standards Subcommittee;
   and past chair, Wheelchair User Issues Subcommittee
   Past Advisory Board Member, Rehabilitation Engineering Research Center for Wheelchair Transportation
   Safety (RERC-WTS); Universities of Michigan, Pittsburgh, and Louisville
   Member, ANSI/RESNA Committee on Wheelchairs and Transportation (COWHAT), American National
   Standards Institute / Rehabilitation Engineering Society of North America
   Member, International Standardisation Organisation, Technical Committee 173: "Assistive Products for
   Persons with Disability", Sub-Committee 1: "Wheelchairs", WG6 - Working Group 6: "Wheelchair Restraint
   Systems" (ISO/TC173/SC1/WG6)
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Publications & Presentations:

  Transporting Seniors and Passengers with Disabilities: Safety, Liability, and Training, Bus &
  Paratransit Conference of the American Public Transportation Association (APTA), Reno, Nevada,
  May 2017

  Update of ADA Accessibility Guidelines for Non-rail Vehicles, Spring Conference of the California
  Association for Coordinated Transportation (CalACT), Squaw Valley, California, April 2017

  Transporting Seniors and Passengers with Disabilities: Safety, Liability, and Training, 2016
  National Aging Services Risk Management (NASRM) Conference, Chicago, November 2016

  “New Regulations and Standards for Disabled Accessibility”, Bus & Paratransit Conference of the
  American Public Transportation Association (APTA), Charlotte, NC, May 2016

  “Wheelchair and Vehicle Accessibility Changes Are Coming”, Spring Conference of the California
  Association for Coordinated Transportation (CalACT), Tenaya Lodge, Calif. (Yosemite), April 2015

  “Recommendations on Future Requirements for Mobility Devices”, Spring Conference of the
  California Association for Coordinated Transportation (CalACT), San Diego, May 2014

  “Developing Effective Rider Conduct Policies”, Spring Conference of the California Association for
  Coordinated Transportation (CalACT), San Diego, May 2014

  “Ask the Expert: 30 Questions Submitted by Conference Attendees”, Putting the Pieces Together
  XVII - ADA Workshop, Leavenworth, Washington, April 22, 2013

  “Roundtable Discussion: Coping with the Elimination of the Common Wheelchair Definition”, Fall
  Conference of the California Association for Coordinated Transportation (CalACT), Monterey,
  California, September 2012

  “ADA Policy Guidelines”, Fall Conference of the California Association for Coordinated
  Transportation (CalACT), Monterey, California, September 2012

  “Wheeled Mobility Device Transportation Safety in Fixed Route and Demand-Responsive Public
  Transit Vehicles within the United States” (with Karen L. Frost, Ph.D., MBA; Linda van Roosmalen;
  and Gina Bertocci, Ph.D., PE), Assistive Technology (official journal of RESNA, the Rehabilitation
  Engineering and Assistive Technology Society of North America), June 2012

  “The End of the Common Wheelchair: Service & Policy Implications of the New USDOT ADA
  Regulations”, Bus & Paratransit Conference of the American Public Transportation Association
  (APTA), Long Beach, California, May 2012

  "Accommodating the Growing Diversity of Wheelchairs/Mobility Devices (Oversize/weight, Non--
  securable, Rollators, etc.): Policy, Procedure, and Customer Service Approaches" - Annual
  Meeting /EXPO of the American Public Transportation Association (APTA), New Orleans, October
  2011
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“Wheelchair Securement Procedures, Strategies, Policies, & Solutions”, North Carolina Public
Transportation Association - 2011 Conference & Expo, Wilmington, NC, May 2011

"Wheelchair Access on Transit and Paratransit Vehicles: Evolving Research and Best Practices -
Transit System Policies and Customer Information, Emerging Trends, and New Technologies",
Bus & Paratransit Conference of the American Public Transportation Association (APTA),
Memphis, May 2011

“Mobility Device Securement: Standards and Wheelchair Marking & Tether Strap Programs”, Bus
& Paratransit Conference of the American Public Transportation Association (APTA), Cleveland,
Ohio, May 2010; and Spring Conference of the California Association for Coordinated
Transportation (CalACT), San Francisco, June 2010

“Boarding Issues on Fixed Route and Paratransit”, Easter Seals Project ACTION Distance
Learning Audio Conference, March 24, 2010 (Co-presenter)

“Developing a Wheelchair Marking and Tether Strap Program”, Transit Trainers’ Workshop,
National Transit Insititute, Cleveland, Ohio, October 2009; and article in CalACTION, newsletter of
the California Association for Coordinated Transportation (CalACT), Fall 2009; and Bus &
Paratransit Conference of the American Public Transportation Association (APTA), Austin, Texas,
May 2008

“Wheelchair Securement on Buses and Paratransit Vehicles”, Easter Seals Project ACTION
Distance Learning audio conference, April 14, 2009 (Presenter)

Status Report on the Use of Wheelchairs and Mobility Devices on Public and Private
Transportation, Easter Seals Project ACTION, 2008 (Principal Investigator/Author, with
Nelson/Nygaard Consulting Associates)

“ADA Paratransit Eligibility Models: Comparing the Options”, Bus & Paratransit Conference of the
American Public Transportation Association (APTA), Nashville, Tennessee, May 2007

“Wheelchair Access: Improvements, Standards, and Challenges”, Bus & Paratransit Conference of
the American Public Transportation Association (APTA), Anaheim, California, May 2006

“Wheelchair Access: Issues and Options for the 2000's”, Bus & Paratransit/Bus Rapid Transit
Conference of the American Public Transportation Association (APTA), Denver, May 2004

“Wheelchair Securement: Where Art Meets Science”, article published in the newsletters of Easter
Seals Project ACTION and the California Association for Coordinated Transportation (CalACT),
2004

“Securing Wheelchairs: Recent Developments, Future Challenges”, Bus & Paratransit Conference
of the American Public Transportation Association (APTA), Milwaukee, May 2003

“AC Transit Offers Wheelchair Securement Aids”, article in Passenger Transport, American Public
Transportation Association (APTA), May 2002

“Developing Paratransit Rider Policies”, Bus & Paratransit Conference of the American Public
Transportation Association (APTA), Minneapolis, May 2002; and National Transit Institute (NTI)
Training Conference, Portland, Oregon, 2000
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   “Making an Accessible Light Rail System More Accessible Under the Americans with Disabilities
   Act”, Light Rail Conference sponsored by the Transportation Research Board and American Public
   Transportation Association (APTA), Baltimore, 1995

   “Sacramento Upgrades Accessibility of Light Rail Stations”, article in Passenger Transport,
   American Public Transportation Association (APTA), November 13,1995

   “Developing Property Assessment Funding for Paratransit Service: County Service Areas in
   California”, Transportation Research Board conference “Solving ADA Paratransit Problems”,
   Phoenix, May 1993

   NOACA’s Coordinated Paratransit Development Program, Northeast Ohio Areawide Coordinating
   Agency (Report # TR-89-16), Cleveland, July 1989

   Lake County Paratransit Study, Northeast Ohio Areawide Coordinating Agency, Cleveland, Ohio
   and LAKETRAN, Grand River, Ohio, October 1987

   “Options for Accessible Paratransit Vehicles”, National Workshop on Bus Wheelchair Accessibility,
   US DOT, Seattle, May 1986

   Specification Guide for Small Transit Vehicles, Indiana Dept. of Transportation, Indianapolis (and
   reprinted by US DOT Technology Sharing Program, report # DOT-I-84-26), February 1984


KEY for titles:
        Italics and "quotes" - Conference or teleconference presentation; or article in periodical
        Italics, "quotes", and underline - Conference presentation and formal paper
        Underline - Report or study
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